Case 1:05-cv-00377-WDM-BNB Document 50 Filed 01/30/06 USDC Colorado Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-cv-00377-WDM-BNB

  MOISES CARRANZA-REYES,

  Plaintiff,

  v.

  THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS,
  FRED WEGENER, individually and in his capacity as Sheriff of Park County, Colorado,
  MONTE GORE, individually and in his capacity as Captain of Park County Sheriff’s Department,
  VICKIE PAULSEN, individually and in her official capacity as Registered Nurse for Park
  County, Colorado, and
  JAMES BACHMAN, M.D., individually and in his official capacity as Medical Director of the
  Park County jail,

  Defendants.
  ______________________________________________________________________________

                                   MINUTE ORDER
  ______________________________________________________________________________
  Minute Order Entered by Magistrate Judge Boyd N. Boland

          This matter is before the Court on the Motion for Extension of Time to Respond to
  Plaintiff’s Second Set of Requests for Production of Documents from Defendants Park
  County Board of County Commissioners, Fred Wegener and Monte Gore (the “Motion”),
  filed on January 27, 2006.

         IT IS ORDERED that the Motion is GRANTED and defendants Park County Board of
  County Commissioners, Fred Wegener and Monte Gore shall respond to the plaintiff’s second set
  of requests for production of documents on or before February 9, 2006.



  DATED: January 30, 2006
